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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA
                                                     Crim. No. 14-150 (KM)
         V.
                                                  MEMORANDUM and ORDER
Wayne DUNICH-KOLB,                                     (Competency)
                Defendant.



        Counsel for the defendant, Wayne Dunich-Koib, has moved under 18
U.S.C.   § 4241 for an order declaring the defendant mentally incompetent to
stand trial in this criminal case. (ECF no. 29) For the reasons stated herein,
the motion will be denied.

I.       Procedural Background

         On March 24, 2014, a federal grand jury indicted Mr. Dunich-Koib on
federal tax charges. The currently operative Superseding Indictment (ECF no.
27) has ten counts. Counts 1—7 charge Dunich-Koib with preparing false and
fraudulent returns on behalf of his clients, in violation of 26 U.S.C.   § 7206(2).
Those counts allege that Dunich-Koib caused his clients to form fictitious
partnerships and S corporations, and fabricated losses and deductions in
relation to those fictitious businesses. Counts 8—10 charge Dunich-Koib with
filing false tax returns that understated his own income for tax years 2006,
2007, and 2008, in violation of 26 U.S.C.   § 7206(1).
         On July 15, 2016, defense counsel filed with the Court a report of Dr.
Gerard Figurelli, a psychologist. (“Figurelli Rpt.”) At a status conference on
August 24, 2016, counsel stated that his client was not mentally competent to
 stand trial. I ordered a second evaluation, and, on the government’s
 application, I appointed Dr. Steven S. Simring, M.D., a psychiatrist, to perform
 it. Dr. Simring’s conclusions are contained in a report dated November 29,
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2016. (“Simring Rpt.”) On December 21, 2016, defense counsel filed a formal
notice of motion for a competency hearing pursuant to 18 U.S.C.         § 424 1(a).
(ECF no. 29) I granted the defense time to obtain a supplemental evaluation by
Dr. Figurelli, which is contained in a Supplemental Report (“Figurelli Supp.
Rpt.”). Defendant’s counsel, Jeffrey 0. Garrigan, Esq., submitted a Certification
(“Garrigan Cert.”), describing his own dealings with Mr. Dunich-Kolb.

         On February 24, 2017, the Court convened an evidentiary hearing to
determine the defendant’s mental competency. Dr. Figurelli and Dr. Simring
both testified. They were the only witnesses; the defendant did not testify.
Exhibits, including the three expert reports and the Garrigan certification, were
            1 I invited the parties to submit post-hearing briefing, and
received in evidence.
both sides did so. (ECF nos. 33, 34) The matter is now poised for decision.

II.      Legal Standards

         The parties fundamentally agree as to the applicable legal standards. The
basic due process guarantee of a fair criminal trial requires that a defendant
possess the capacity (1) to understand the nature and object of the




1        The exhibits, all admitted on consent, are:
          CH-1 Curriculum vitae of Steven S. Simring, M.D., M.P.H.
          CH-2 Simring Expert Testimony Case List
          CH-3 Simring Rpt.
          CH-4 Curriculm vitae of Dr. Figureffi
          CH-5 Figurelli Rpt.
          CH-6 Figurelli Supp. Rpt.
          CH-7 Certification of Jeffrey G. Garrigan, Esq.
          CH-8 Excerpt from DSM-5, “Personality Disorders”
          CH-9 Excerpt from DSM-5, “Schizophrenia Spectrum and Other Psychotic
               Disorders”
Neither party seems to have ordered the transcript of the hearing. In writing this
opinion, I worked from my notes.

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                                          2 defense. See United States v.
proceedings, and (2) to assist counsel in his
Renfroe, 825 F.2d 763, 765 (3d Cir. 1975). That two-pronged standard is well
established, having been stated by the Supreme Court in Dusky v. United
States, 362 U.S. 402 (1960) (requiring that (1) the defendant have a rational
and factual understanding of the proceedings, and (2) a “sufficient present
ability to consult with his lawyer with a reasonable degree of rational
understanding”), and Drope v. Missouri, 420 U.S. 162, 171 (1975). See also
Taylor v. Horn, 504 F.3d 416, 430 (3d Cir. 2007) (citing Dusky).

        Congress codified a similar version of that standard in the Insanity
Defense Reform Act of 1984, which provides:

        If, after the [competencyl hearing, the court finds by a
        preponderance of the evidence that the defendant is presently
        suffering from a mental disease or defect rendering him mentally
        incompetent to the extent that he is [1] unable to understand the
        nature and consequences of the proceedings against him or [2] to
        assist properly in his defense, the court shall commit the
        defendant to the custody of the Attorney General.
18 U.S.C.    § 424 1(d) ([bracketed] numbers added). See Insanity Defense Reform
Act of 1984, Sen. R. No. 98—225, at 236 (1983), reprinted in 1984 U.S.C.C.A.N.
(98 Stat.) 3182, 3418 (“This test of competency, in essence, adopts the
standards set forth by the Supreme Court in Dusky v. United States.”).

         The Government bears the burden of proving competency. See United
States v. Velasquez, 885 F.2d 1076, 1089 (3d Cir. 1989), cert. denied, 494 U.S.
 1017 (1990). A court evaluating a defendant’s competency may consider such
factors as “evidence of a defendant’s irrational behavior, his demeanor at trial,
and any prior medical opinion on competence to stand trial.” United States v.
Leggett, 162 F.3d 237, 244 (3d Cir. 1998) (quoting Drope v. Missouri, 420 U.S.
 162, 180 (1975)). The court may also consider defense counsel’s
representations about his client’s competency. Renfroe, 825 F.2d at 767.


 2     Because the defendant in this case happens to be male, I will for convenience
 use male pronouns even when referring to a generic defendant.

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      As to competency the presiding judge is the fact finder, and must weigh
conflicting evidence:

      When presented with competing expert reports, as is the case here,
      the district court judge, who is in the best position to evaluate
      credibility of experts, is permitted to assign greater weight to some
      opinions over others, or altogether reject certain expert opinions.
      See, e.g., United States v. Ghane, 490 F.3d 1036, 1040 (8th Cir.
      2007) (stating that “[a] district court may rely on one of two
      competing competency opinions given by qualified experts”); United
      States v. Mahoney, 717 F.3d 257, 264—66 (1st Cir. 2013) (holding
      that the district court did not err by relying on the testimony of one
      expert and its own observations rather than on the testimony of
      another expert); United States v. VanHoesen, 450 F. App’5c 57, 60—
      61 (2d Cir. 2011) (holding that district court did not err in
      attributing more weight to the expert reports finding that
      defendant was competent, even where a forensic psychologist
      found defendant to be incompetent).
United States v. Brown, No. 12-0367, 2015 WL 1573365 at *12 (E.D. Pa. Apr. 8,
2015).

         Competency is not a stringent standard, however. “[I]t does not follow
that because a person is mentally ill [that person] is not competent to stand
trial.” United States v. Leggett, 162 F.3d 237, 244 (3d Cir. 1998) (internal
quotation marks omitted). See also United States v. Nichols, 56 F.3d 403, 412
(2d Cir. 1995) (“It is well-established that some degree of mental illness cannot
be equated with incompetence to stand trial.”); id. at 412-13 (finding that
evidence of paranoid delusions and onset of psychosis did not undermine
district court’s finding of competency); United States v. Wolfson, 616 F. Supp.
2d 398 (S.D.N.Y. 2008) (defendant diagnosed with a Bipolar I disorder, manic
episodes, delusional thinking, with paranoid and perhaps grandiose delusions
nevertheless found competent to stand trial).

         An assessment of a defendant’s competence, then, “has a modest aim: It
seeks to ensure that he has the capacity to understand the proceedings and to
assist counsel.” Godinez v. Moran, 509 U.S. 389, 402 (1993). A defendant’s
ability to assist properly in his defense requires only that he possess a

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“sufficient present ability to consult with his lawyer with a reasonable degree of
rational understanding.” Cooper v. Oklahoma, 517 U.S. 348, 354 (1996)
(quoting Dusky, 362 U.S. at 402). “If the mental illness does not deprive the
defendant of the ability.    .   .   to understand the proceedings   .   .   .   rationally as

well as factually, then the illness is irrelevant for the purposes of determining
competency.” Leggett, 162 F.3d at 244 (internal quotation marks and citations
omitted).

III.   Diagnostic Standards: DSM-5 Criteria

       Both experts draw on the American Psychiatric Association’s Diagnostic
and Statistical Manual of Mental Disorders, 5th Edition, known as “DSM-5.”
Dr. Figurelli rendered a diagnosis of Delusional Disorder, Paranoid! Persecutory
Type, 297.1 (F22). (See Excerpt from DSM-5, Ex. CH-9.) Dr. Simring diagnosed
Mr. Dunich-Kolb with F60.9 Unspecified personality disorder. (See Excerpt
from DSM-5, Ex. CH-8). For convenience I reprint the relevant diagnostic
criteria here.

       A.    Delusional Disorder

       The DSM-5 Diagnostic criteria for Dr. Figurelli’s diagnosis, Delusional
Disorder, Paranoid/Persecutory Type, 297.1 (F22), are as follows:

       A.    The presence of one (or more) delusions with a duration of 1
             month or longer.
       B.        Criterion A for schizophrenia has never been met.
                 Note: Hallucinations, if present, are not prominent and are
                 related to the delusional theme (e.g., the sensation of being
                 infested with insects associated with delusions of
                 infestation).
       C.        Apart from the impact of the delusion(s) or its ramifications,
                 functioning is not markedly impaired, and behavior is not
                 obviously bizarre or odd.
       D.        If manic or major depressive episodes have occurred, these
                 have been brief relative to the duration of the delusional
                 periods.


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     E.     The disturbance is not attributable to the physiological
            effects of a substance or another medical condition and is
            not better explained by another mental disorder, such as
            body dysmorphic disorder or obsessive-compulsive disorder.
     Specify whether
            Erotomanic typeS
            Grandiose typeS
            Jealous typeS
            Somatic typeS
            Persecutory type: This subtype applies when the central
            theme of the delusion involves the individual’s belief that he
            or she is being conspired against, cheated, spied on,
            followed, poisoned or drugged, maliciously maligned,
            harassed, or obstructed in the pursuit of long-term goals.
            Mixed typeS
            Unspecified typeS
      Specify if
            With bizarre content: Delusions are deemed bizarre if they
            are clearly implausible, not understandable, and not derived
            from ordinary life experiences (e.g., an individual’s belief that
            a stranger has removed his or her internal organs and
            replaced them with someone else’s organs without leaving
            any wounds or scars).
      Specify   if
             [Criteria for classification of episodes as acute, current, or in
             remission, as well as criteria for assessing severity
(Ex. CH-9 at 90—9 1)

      B.     Unspecified Personality Disorder

      The DSM-5 diagnostic criteria for Dr. Simring’s diagnosis, Unspecified
Personality Disorder, must be understood in the context of the umbrella
category, General Personality Disorder. The General Personality Disorder
criteria are as follows:

      A.     An enduring pattern of inner experience and behavior that
             deviates markedly from the expectations of the individual’s
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           culture. This pattern is manifested in two (or more) of the
           following areas:
           1.     Cognition (i.e., ways of perceiving and interpreting self,
                  other people, and events).
           2.       Affectivity (i.e., the range, intensity, lability, and
                    appropriateness of emotional response).
           3.       Interpersonal functioning.
           4.       Impulse control.
     B.    The enduring pattern is inflexible and pervasive across a
           broad range of personal and social situations.
     C.    The enduring pattern leads to clinically significant distress
           or impairment in social, occupational, or other important
           areas of functioning.
     D.     The pattern is stable and of long duration, and its onset can
            be traced back at least to adolescence or early adulthood.
      E.    The enduring pattern is not better explained as a
            manifestation or consequence of another mental disorder.
      F.    The enduring pattern is not attributable to the physiological
            effects of a substance (e.g., a drug of abuse, a medication) or
            another medical condition (e.g., head trauma).
(Ex. CH-9 at 646—47)
      With those general criteria established, DMS-5 then defines a
number of particular personality disorders, the last of which is
Unspecified Personality Disorder, 301.9:

      This category applies to presentations in which symptoms
      characteristic of a personality disorder that cause clinically
      significant distress or impairment in social, occupational, or other
      important areas of functioning predominate but do not meet the
      full criteria for any of the disorders in the personality disorders
      diagnostic class. The unspecified personality disorder category is
      used in situations in which the clinician chooses not to specify the
      reasons that the criteria are not met for a specific personality
      disorder, and includes presentations in which there is insufficient
      information to make a more specific diagnosis.
(Ex. CH-9 at 684)


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IV.      Discussion and Findings

         A.    The Experts’ Ultimate Conclusions

         The experts’ opinions as to the ultimate issue of competency are directly
opposed. Their diagnoses, too, are disparate.

         Dr. Figurelli rendered a diagnosis of Delusional Disorder,
Paranoid/Persecutory Type, 297.1 (F22). Here is his ultimate opinion:

         It is the opinion of this examiner, stated within a reasonable degree
         [of] psychological certainty, that [Mr. Dunich-Kolbj is suffering
         from a type of psychotic disorder—Delusional Disorder, Paranoid
         Type—that renders it highly doubtful that he possess the ability: 1)
         to consult with his attorney with even a reasonable degree of
         rational understanding; 2) to understand, factually or rationally,
         the nature and consequences of the legal proceedings conducted
         against him; 3) to testify adequately in his own defense; and/or 4)
         to assist adequately in his own defense in the course of these
         proceedings.
(Ex. CH-5 at 9)

         Dr. Simring rendered a diagnosis of Unspecified Personality Disorder
F60.9. Here is his ultimate opinion:

         It is my opinion, to a reasonable degree of medical probability, that
         Wayne A. Dunich-Koib does not have a mental disease or defect
         rendering him mentally incompetent to stand trial. It is my
         opinion, to a reasonable degree of medical probability, that he is
         able to understand the nature and consequences of the
         proceedings against him and to assist properly in his defense. It is
         my conclusion that he is mentally fit to proceed to trial.
 (Ex. CH-3 at 8)

          B.    The Experts’ Reports and Testimony

          Both Dr. Figurelli and Dr. Simring are well qualified to give opinion
 testimony. As to relevant experience and credentials I would give the edge to
 Dr. Simring.




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      Dr. Figurelli, who possesses a PhD, has been a licensed psychologist
since 1992. (Ex. CH-4) He is board certified in psychopharmacology, is a
licensed clinical alcohol and drug counselor, and has undergone additional
training at the Academy of Applied and Clinical Psychoanalysis. He has
qualified as an expert and has testified hundreds of times. Those matters have
for the most part been in family and civil court.

      Dr. Simring is an M.D. specializing in psychiatry, and also possesses a
Master’s degree in public health obtained in 1974. (Ex. CH-1) He is board
certified in psychiatry and forensic psychiatry. From 2005 to the present he
has been Associate Clinical Professor of Psychiatry at the Columbia College of
Physicians and Surgeons, and from 2005—10 he was Director of the
Columbia/Cornell Residency Program in Psychiatry and Law. A list of 37 cases
in which he testified as an expert from 2012—16 includes twelve matters that
were criminal cases and/or involved competency determinations. (Ex. CH-2) It
was my overall view that Dr. Simring had a superior understanding of the issue
of legal competency, the criminal process, and the manner in which
psychological categories interact with legal ones.

      I start with areas of broad agreement between these two experts. As to
the defendant’s relevant history and background, they seem to be in general
agreement.

       Mr. Dunich-Kolb, now 52 years old, was raised in Hudson and Bergen
Counties. His father was a CPA, and his mother a hairdresser. Neither expert
found any history of substance abuse, psychiatric hospitalization, or serious
health problems. A 2009 marriage was annulled after four months. Two other
relationships appear also to have been short—lived; one ended in a complaint of
domestic violence, later dropped, and the other may have been a casualty of his
legal difficulties.

       Mr. Dunich-Koib obtained a bachelor’s degree in accounting from
 Syracuse University in 1988, and went on to receive further training in


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personal financial and tax planning. After a period of employment with
accounting firms, in 1995 he went into business for himself. His practice
consisted of, inter alia, tax planning and tax return preparation for individuals.

       The Indictment refers to a 1996 consent order that is relevant. I take
judicial notice of that consent order, dated May 23, 1996, entered into between
Mr. Dunich-Koib and the State of New Jersey Department of Law and Public
Safety, Division of Consumer Affairs, State Board of Accountancy. See
http: / / njpublicsafety. corn / ca/action/i 9960523_KOLB pdf. The order recites
                                                             .




that Mr. Dunich-Koib has been practicing as an accountant without a license,
bars him from holding himself out to the public as an accountant in the future,
and imposes a $5000 fine.
                    3

      An investigation by the taxing authorities seems to have begun as long
ago as 2007. In March 2012, Mr. Dunich-Koib was arrested on New Jersey
state charges related to his business. On September 14, 2012, he pled guilty to
one count of theft and illegal retention of funds. The underlying conduct
involved depositing into his own controlled accounts certain checks of his
clients. Those checks, made payable to various state and federal authorities,
totaled about $190,000. On December 7, 2012, he was sentenced to four years’
imprisonment. After an initial period of incarceration, he was released to a
halfway house. It was while he was at the halfway house, on March 24, 2015,
that Mr. Dunich-Koib was arrested on the current federal charges.

      The only psychological testing was performed by Dr. Figurelli. The Beck
DI, Beck AT, and PAT tests were negative for depression and anxiety. The PAl
results indicated unwillingness to recognize personal shortcomings, lack of
awareness of his own distress, and lack of insight or understanding into his
own psychological condition. Dr. Simring did not quarrel with those results,



       In both reports, the facts about Mr. Dunich-Koib’s backgrounds are largely self
reported. Dr. Simring’s report describes the defendant as a CPA; Dr. Figurelli’s report
does not.

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although he did not regard them as supporting a diagnosis of a psychotic
4 Neither expert believed that Mr. Dunich-Koib was malingering.
disorder.

       Both experts concluded that Mr. Dunich-Koib was above average in
intelligence and able to focus. He was able to, and did, intellectually grasp the
basics of the criminal charges and a criminal trial. He understood what he was
accused of, the role of the prosecutor, defense attorney, and judge, the
consequences of conviction, and so on. The two experts differed, however, as to
whether Mr. Dunich-Koib’s understanding of the case was a rational one, and
especially whether his psychological state interfered with his ability to assist in
his defense.

      As Dr. Figurelli sees it, Mr. Dunich-Kolb is in thrall to a rigid, inflexible
and delusional belief, the subject matter of which is confined to his criminal
case. Dunich-Koib believes he has been illegally targeted by an IRS criminal
investigation headed by Special Agent Jonathan Helmstetter. The reason for
the investigation, he thinks, is that SA Helmstetter has a personal vendetta
against him, and is jealous of his material success and expensive home. Mr.
Dunich-Koib stated that he was being followed, and that SA Helmstetter was
talking to family members, screening his mail, and so on. By showing a badge
and gun, he said, Helmstetter was able to intimidate people into cooperating.
The IRS, Dunich-Koib believes, is “snooping” on private citizens without
justification (he referred to news accounts regarding ACORN and the Tea
Party). These paranoid beliefs, says Dr. Figurelli, preoccupy Dunich-Koib and
interfere with his rational appreciation of the case and ability to cooperate in
his defense.


       Dr. Simring’s report states incorrectly that Dr. Figurelli had noted “behavioral
and personality features consistent with antisocial personality disorder, psychopathy
and/or sociopath[y].” At the hearing, Dr. Simring acknowledged that he had misread a
passage in Dr. Figurelli’s report that was referring generically to what the tests
measure, not to any result specific to Mr. Dunich-Koib. (The report has a one and a
half page generic description of the tests, followed by a paragraph actually stating the
results of the tests as to Dunich—Koib.) The error was careless. If anything, however, it
caused Dr. Simring to overstate the severity of the psychological test results.

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      Asked to explain the “vendetta,” Mr. Dunich-Kolb stated that he has been
“ugly” and “didn’t play nice.” (Cross-examination of Dr. Figurelli suggested that
this may have been a reference to the defendant’s dealings with the authorities
during the investigation of the State case, but this was not entirely clear from
the report.) Dunich-Kolb hazarded more general observations, such as “East
hates West; rich hate poor; country hates city.” He referred to reports of a
political candidate’s use of a private email server or a prominent quarterback’s
tax planning strategies, suggesting that he, Dunich-Koib, was singled out for
prosecution when those celebrities were not. His use of partnerships, he said,
was just a “loophole” similar to those used by famous people, including the
President.

      Mr. Dunich-Kolb reviewed some of the emails and other evidence with
Dr. Figurelli, and provided innocent explanations. He expressed disbelief that
there could be any accusation of criminal wrongdoing when the clients had not
been audited. He blamed his prior attorney for talking him into pleading guilty
in the prior, State criminal case; the prior attorney, he said, had predicted that
he would get a probationary sentence and not face further charges. Dunich
Kolb vehemently insisted that he would not make that mistake again, and that
he had now hired an attorney who would fight the charges.

      Dr. Figurelli believed that between his initial evaluation on April 8, 2016,
and his supplemental evaluation in January 2017, some deterioration had
taken place. Mr. Dunich-Kolb’s mood was more labile, his thoughts less goal
directed, and his statements less focused and relevant.

      Dr. Figurelli considered statements of Mr. Dunich-Kolb’s counsel, Jeffrey
G. Garrigan, Esq., which he found to be consistent with his own diagnosis. Mr.
Garrigan’s certification states that he met regularly with Mr. Dunich-Kolb to
discuss the documents produced in discovery. He found that Dunich-Kolb,
instead of focusing on the task at hand, kept returning to the themes of the
Helmstetter vendetta and the fact that the clients had not been audited. He
regularly supplied Garrigan with news clipping suggesting corruption in the

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IRS. DunichKolb expressed the opinion that Helmstetter had destroyed
exculpatory documents that were among those seized from his home. In
meetings with the government, Dunich-Koib apparently tried to stare down
Helmstetter, and showed little interest in the government’s presentation of
evidence. Among the government’s documents were pictures of his home,
which he took as confirmation of his theory that the investigating agent was
jealous of his prosperity. (See Ex. CH-7.)

       Dr. Figurelli dispelled the lay assumption that a belief must be bizarre, or
                                  5 He noted that “Mr. Dunich-Koib
involve voices and visions, to be delusional.
has expressed and maintained the belief that he has not committed any
wrongdoing even when presented with evidence that purports to support the
contrary, and when confronted with the nine count federal indictment brought
against him.” (CH-6 at 7) That belief, and the accompanying vendetta theory,
says Dr. Figurelli, represent a “psychotic break from reality.” Id.

       Dr. Figurelli was asked to state why he had found a psychotic disorder,
rather than a personality disorder. An important distinction, he answered, is
that a delusion may be quite specific, whereas a personality disorder follows a
person through life and interferes with life activities. Dunich-Koib, however, did
not have a history of psychological or psychiatric problems. His illogical beliefs
seemingly cropped up in connection with the State criminal case in 2012 and
remain tied to the IRS and the tax investigation.



5       Both experts quoted the following definition of a delusion:
       A false belief based on incorrect inferences about external reality that is
       firmly held despite what almost everyone believes and despite what
       constitutes incontrovertible and obvious proof or evidence to the
       contrary. The belief is not ordinarily accepted by members of the person’s
       culture or subculture (i.e., it is not an article of faith). When a false belief
       involves a value judgment, it is regarded as a delusion only when the
       judgment is so extreme as to de1y credibility.
Dr. Simring’s report, without a specific citation, states that this language appears in
DSM-5. It is not within the DSM-5 excerpts supplied to the court, and I believe that it
may actually derive from DSM-4.

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      On cross-examination, Dr. Figurelli acknowledged that many of Mr.
Dunich-Koib’s beliefs had a basis in reality. He was being followed by SA
Helmstetter, who was zealously attempting to make a case against him. His
family members and clients were being interviewed. Belief that federal agents
may have instituted a mail cover is not irrational. The notion that he was being
“tag-teamed” is not irrational, in that the state and federal authorities had
indeed cooperated and charged him seriatim. The idea that the government was
“fishing” in his bank accounts, too, is not irrational, given the government’s
subpoena power. Dr. Figurelli seemed to acknowledge that it is rational to feel
resentment when one perceives that famous people get breaks not available to
others. Denial of criminal intent, or the invocation of “loopholes,” is not
irrational in a tax case, where specific intent is central. Unwillingness to repeat
the “mistake” of pleading guilty—which had once led to a jail term—is not
irrational.

         Dr. Simring’s interview of Mr. Dunich-Koib yielded many of the same
themes. The defendant had a sophisticated understanding of the charges and
trial proceedings. He had no history of psychiatric disorders or treatment. He
spoke logically and coherently. With anger and sarcasm, he insisted that SA
Helmstetter was going to extraordinary lengths to convict him, out of envy or
some other motive. He referred to a 25-person arrest team and federal/state
cooperation, seemingly as an example of overkill. The charges, he said, were
“garbage.”

         Simring and Dunich-Kolb went over text messages and emails that the
government had identified as evidence. Dunich-Kolb seemed to be familiar with
them. He provided credible innocent explanations and pointed out ambiguities
in the words he used. None of the messages, he said, proved him guilty of any
crime.

         Mr. Dunich-Kolb’s beliefs are not, in Dr. Simring’s estimation, psychotic
or delusional. Whether correct or not, they bear a plausible relation to external
reality; even if wrong, they are explanations that fit the known facts. “At most,

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[Dunich-Kolb] believes that the government has been overzealous in its
prosecution, and has misinterpreted ambiguous evidence against him.” (CH-3
at 7) To be sure, he shows some obsessive and paranoid traits; he is angry; he
is oppositional and stubborn. But none of this comes near a psychotic break
with reality, in Dr. Simring’s view.

      For all these reasons, Dr. Simring found that at most a personality
disorder was at work. He added, moreover, that the ultimate issue of a precise
diagnosis was not strictly germane; irrespective of the label attached to Mr.
Dunich-Koib, Dr. Simring opined that he was able to assist in his own defense.

      On cross-examination, Dr. Simring admitted that Mr. Dunich-Koib was
“dug in” to his beliefs and probably would not alter them in response to
evidence. He characterized this as difficulty or stubbornness. He admitted that
these particular beliefs were confined to the facts of the criminal case, an
important factor in Dr. Figurelli’s analysis. He saw signs, however—
particularly, the lack of a long term marriage or other relationship—that a
personality disorder had affected other parts of Mr. Dunich-Koib’s life.

       C.    Analysis: The Defendant’s Ability to Rationally Understand the
             Proceedings and Assist in His Own Defense
      There is no disagreement that Mr. Dunich-Koib intellectually grasps the
nature and significance of the criminal charges and these proceedings. Rather,
the experts differ as to whether the defendant has a rational understanding of
the proceedings, and especially whether he has paranoid delusions that
prevent him from assisting in his own defense.

       I do not think it is necessary to posit psychosis in order to explain Mr.
Dunich-Kolb’s attitudes. In “Key Features that Define the Psychotic Disorders:
Delusions,” DSM-5 gives the following example of a nonbizarre delusion: “the
belief that one is under surveillance by the police, despite a lack of convincing




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6 (Ex. CH-9 at 87) I accept Dr. Simring’s observation that Mr.
evidence.”
Dunich-KoIb’s beliefs, whether one agrees with them or not, are reality-based.
It is true that SA Helmstetter carries a gun and has interviewed the defendant’s
associates and clients. It is true (colorful “tag-team” verbiage aside) that the
state and federal authorities jointly investigated him. It is not irrational to
think that the federal government has the power to screen mail or subpoena
bank records. Nor need one be unhinged to think that celebrities and other
powerful people may deploy their considerable resources to avoid the
consequences of their actions. The comment about East hating West is not
                      7 In short, this is not the proverbial pro se litigant
some inscrutable word salad.
who may be working out his psychological problems by bringing serial,
meritless lawsuits against imagined oppressors. Mr. Dunich-Koib is reacting to
the government’s very real pursuit of him.

       Applying the test of experience, I do not find Mr Dunich-Koib’s beliefs to
be outside the mainstream of what I see in criminal cases. It is common for
criminal defendants, especially those accused of white collar, specific-intent
8 to insist upon their innocent mental state, which cannot be directly
crimes,
disproven. So-called tax protestors, in particular, cling to implausible factual
and legal theories despite repeated failures in court. This may simply be a case
of rationalization, or so-called “motivated reasoning,” a cognitive strategy that
                                                             9 Common
can cause us to cling stubbornly to beliefs despite contrary evidence.


6      I take that to mean “convincing evidence” that one is being followed, not
“convincing evidence” of criminality.
       I did not find it enigmatic in the least. I took it as a verbal shrug, an expression
of the adage that haters are going to hate. Mr. Dunich-Koib seemed to appreciate the
lack of a logical basis for SA Helmstetter to have a vendetta against him. He attributed
the irrationality not to himself but to the agent, who was indulging baser emotions.
8       See Cheek v. United States, 498 U.S. 192 (1991) (good-faith misunderstanding
of the law negates required mental state of willfulness required for certain tax
offenses).
       Consider that the accused confronts opposed pairs of beliefs. Those on one side
of the divide entail that he is an honest person, that he is entitled to keep his wealth,
and that he should not be convicted of a crime or go to jail; those on the other side,

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human experience suggests that an accused will often attribute base motives to
the investigators. That unverifiable accusation is a convenient means of
deflecting blame. Here, moreover, the defendant has been investigated for many
years and has already served a prison term; his extreme dislike and distrust of
law enforcement is not hard to explain.

      So psychosis is far from a necessary hypothesis. Is it nevertheless the
correct one? I am convinced that the answer is no, because I found Dr.
Simring’s analysis to be more credible, persuasive, and consonant with the
applicable legal standard.

      The experts’ diagnoses diverged, but I remain focused on the issue here,
which is factual in nature and not purely diagnostic. DSM-5 was designed to
help professionals categorize psychiatric conditions as part of their healing
mission. But to say that a psychiatric condition—whatever it is—exists or
might be treated is different from saying that a defendant falls below the rather
minimal standard of competency. Within broad limits, the court must take
defendants as it finds them. See Leggett, 162 F.3d at 244 (a mentally ill person
may nevertheless be competent to stand trial); Nichols, 56 F.3d at 412-13
(paranoid delusions and onset of psychosis not inconsistent with a finding of
competency); Wofson, 616 F. Supp. 2d at 402—17 (defendant diagnosed with a
Bipolar I disorder, manic episodes, delusional thinking, with paranoid and
perhaps grandiose delusions, nevertheless found competent).

       Dr. Simring, as one might expect from his credentials and experience,
showed a superior sensitivity to the ultimate issue of competency within the
framework of the criminal process. It is not psychotic to deny culpable intent,
even in the face of overwhelming evidence; criminal defendants do it all the
time. It does not bespeak a psychotic break with reality, as Dr. Figurelli seems
to suggest, to fly in the face of a multi-count indictment. (See Figurelli Supp.
Rpt. at 7) An indictment is an accusation, which no one is bound to accept as

the opposite. If this is motivated reasoning, the motivation is not hard to find. And to a
greater or lesser degree, we are all susceptible to such thinking.

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fact. Indeed, the reasonable-doubt standard itself permits and sometimes
requires us to reach results that are at odds with the weight of the evidence.

      Defense counsel acknowledges that Mr. Dunich-Koib reviewed thousands
of pages of discovery documents; he found, however, that his client filibustered
on the “vendetta” theory, making it impossible to discuss the documents
specifically. Both Dr. Simring and Dr. Figurelli, however, were able to break the
filibuster. Both reviewed with the defendant a large volume of emails and other
evidence amassed by the government. Both experts’ reports state that Mr.
Dunich-Kolb was able to discuss those documents lucidly and to proffer
innocent explanations for them. Dr. Simring, in particular, stated that Mr.
Dunich-Koib “was able.    .   .   to offer plausible explanations of his behavior. He
was able to deal with the major evidence against him, such as texts and email,
and to offer alternative exculpatory explanations.” (Simring Rpt. 6—7)

      As Dr. Simring points out, the defendant is stubborn and opinionated,
and those attitudes seem to have hardened over the course of his dealings with
the criminal justice system. The facts suggest to me that Mr. Dunich-Kolb is
embittered by his prior conviction and sentence, and that his no-holds-barred
resistance to the current charges is shaped by that experience. Having been
convinced to plead guilty by advice that he would receive a probationary
sentence, he never again will admit wrongdoing, even as to the old charges.
(See Figurelli Supp. Rpt. at 4) Given that defiant stance, it is easier to
understand Mr. Dunich—Koib’s unwillingness to concede anything, even a
minimal level of good faith on the part of the investigators.

      A “delusion,” DSM-5 teaches, is not so easily distinguished from a
strongly held belief. That must be especially true where the belief is a value
judgment or opinion that can be rebutted but not refuted factually. I accept Dr.
Simring’s conclusion that Mr. Dunich-Koib’s beliefs are based on his rational
perception of actual, existing facts. We might say that the defendant overvalues
his own opinions and is rigid about them. We might say that he is overly
confident about his assessment of the internal motives of others. (SA

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Helmstetter’s actions, for example, might just as easily be chalked up to
conscientiousness, rather than ressentimerit.) Many a criminal defendant has
overestimated his own persuasiveness or the viability of his defenses. I do not
know enough about the evidence to say whether Mr. Dunich-Koib has done
that here. What I can say is that Mr. Dunich—Koib has not so parted company
with reality that he is unable to rationally understand the proceedings or
cooperate in his defense.

      I consider a key factor in the divergence between Dr. Figurelli’s diagnosis
and that of Dr. Simring. A personality disorder, says Dr. Figurelli, is an abiding
trait that remains in place and affects broad areas of a person’s life; a psychotic
delusion, by contrast, may be context-specific (whether nonbizarre, such as
“my spouse is cheating on me,” or bizarre, such as “the government is
broadcasting thoughts into my head.”). To a large degree, it is because Mr.
Dunich-Kolb’s extreme beliefs are specifically tied to SA Helmstetter and the
IRS that Dr. Figurelli considers them to be psychotic delusions, rather than
manifestations of a personality disorder.

       I remain unconvinced. Indeed, cross-examination of Dr. Simring
suggested that to the extent Mr. Dunich-Koib’s thoughts and attitudes do not
resemble a personality disorder, it may be because they do not even rise to that
level. Understandably, the tax investigation and the prior conviction have
dominated Mr. Dunich-Koib’s thoughts for at least five years, and probably
longer. I find it plausible that any relevant personality trait was always present,
but then fastened on the criminal case that now dominates his life, and has
found its most acute expression there. The state conviction and sentence, as
well as the continuing tax investigation and new federal charges, just upped
 the ante. With SA Helmstetter dogging his steps, Mr. Dunich-Koib’s
 suspiciousness, intransigence, and inability to acknowledge shortcomings now
 have something specific to attach themselves to. Dr. Simring opined that such
 traits might well have affected other areas of Mr. Dunich-Koib’s life, citing in
 particular his four-month marriage and two other short-lived relationships. But

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if the manifestations were not previously so dramatic before, it may simply be
that less was at stake.

          I am also mindful that great caution is required when the “delusion” in
question is a belief about the merits of the criminal case itsef A defendant
cannot be deemed delusional merely because his legal strategy appears unwise
or self-defeating. Many “persons of unquestioned competence have espoused
ludicrous legal positions.” United States v. James, 328 F.3d 953, 955 (7th Cir.
2003). The case law carries a strong implication that the competency standard
is, and must be, merits-neutral. See Godinez v. Moran, 509 U.S. 389, 399
(1993) (“Nor do we think that a defendant who waives his right to the
assistance of counsel must be more competent than a defendant who does not
....“);   Taylor v. Horn, 504 F.3d 416, 435 (3d Cir. 2007) (“As the District Court
aptly observed: ‘Taylor’s lucid and remorseful desire to plead guilty simply
cannot, out of hand, be colored as utterly bizarre behavior indicative of
incompetency.”’); United States v. Whittington, 586 F.3d 613, 619 (8th Cir.
2009) (approving district court’s reasoning that a defendant should not be
regarded as irrational because he exercised his constitutional right to go to
trial, even if an expert witness thought he had not provided “effective” or “good”
answers to the charges). Dr. Simring rightly stresses that a finding of
competency does not require us to agree or disagree with the defendant that
the evidence fails to incriminate him.

          To that, I add that a court may be doing a defendant no favor by
pathologizing his refusal to accept the government’s interpretation of the
evidence. Even to entertain such a notion risks coercion of a guilty plea or,
more generally, enlistment of psychiatry into the service of the state, a
dangerous proposition. If a defendant is found incompetent, the next step is
not release, but commitment to the custody of the Attorney General for
treatment until he attains competency.’° See 18 U.S.C.          § 424 1(d); United States

10        Defendant’s own expert says that his prognosis is “poor.”

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v. Moruzin, No. CRIM 05-306 (JBS), 2010 WL 2817191, at *2 (D.N.J. July 15,
2010). Assume, then, that we define mental incompetency in terms of the
defendant’s failure to appreciate the strength of the prosecution’s case. Does it
follow that, to demonstrate that he has attained competency, a defendant must
inculpate himself? Clearly the answer must be no, but the defense expert’s
definition of incompetency here may be a first step down that road. Many a
defendant might come to rue accepting the paternal “help” represented by too
high a threshold of competency. The price may be erosion of the defendant’s
constitutional rights and personal autonomy.

        The threshold of competency is relatively low; indeed, the statute, 18
U.S.C.   § 424 1(d), seems to be pitched at the minimum required by the
Supreme Court case law. See pp. 2—5, supra. Thus it is not surprising that the
government is able to cite cases in which defendants who displayed overt
psychotic symptoms were nevertheless found competent to stand trial.
Although no case could be entirely on point, the cited cases are persuasive
here.

        For example, in United States v. Brown, 669 F.3d 10 (1St Cir. 2012), the
court considered a defendant whose attitudes toward the criminal justice
system were not only distrustful but highly idiosyncratic:

        The [defendant]  .   .made a significant number of comments that
                                 .



        reflected his atypical legal beliefs and overall distrust of the legal
        system. Viewed in context, these words and behaviors (though
        often bizarre) did not evidence confusion on [the defendant’s] part
        about the legal proceedings against him, but rather reflected firmly
        held, idiosyncratic political beliefs punctuated with a suspicion of
        the judiciary. Moreover, while some of these beliefs reflected a
        misunderstanding of the law (namely that the district court did not
        have jurisdiction over him and that it was a commercial court) they
        do not render [the defendant] incompetent to stand trial.  .   .   In
                                                                           .



        fact, [defendant’s] contention that courts have no authority over
        him is not a new one for federal judges. .   . As we have previously
                                                         .



        stated, “[s]ometimes these beliefs are sincerely held, sometimes
        they are advanced only to annoy the other side but in neither event


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      do they imply mental instability or concrete intellect.   .   .   so
      deficient that trial is impossible.”
Id. at 18—19 (internal citations omitted). There, even a defendant who believed
that the court itself was part of a lawless conspiracy to convict him was found
competent.

      United States v. Gowadia, No. CR. 05-00486 SOM, 2010 WL 234829 (D.
Haw. Jan. 21, 2010) (affirming Report & Recommendation of Magistrate
Judge), involved a defendant’s abiding distrust of his lawyers. The lawyers, he
said, did not understand his legal theories, “had received a classified briefing
from a Government agent,” and might be “accepting everything the Government
tells them.” Id. at *22. The government’s expert credibly diagnosed the
defendant with narcissistic personality disorder. Such inability to trust one’s
lawyer would logically bear a direct relation to the ability to assist in one’s
defense. The Gowadia court held, however, that although attorney-client
relations would surely be “difficult,” the defendant had the ability to consult
with and assist his counsel. Id. at *24.

      As Gowadia suggests, representation of a client with such strong views
surely poses challenges. Mr. Garrigan, in his certification, has catalogued some
of those challenges. But “disagreement with one’s attorney does not make one
mentally unable to consult with him.” United States v. Ghane, 593 F.3d 775,
781 (8th Cir. 2010). Likewise, strategic differences, stubbornness, or refusal to
admit guilt despite persuasive evidence, are not considered signs of unfitness
to stand trial. The proper inquiry is not whether the defendant is unwilling to
assist as counsel would wish, but whether he is “unable” to assist. See United
States v. Vachon, 869 F.2d 653, 655 (1st Cir. 1989); see also United States v.
Moruzin, No. CRIM 05-306 (JBS), 2010 WL 2817191, at *22 (D.N.J. July 15,
2010) (Simandle, C.J.) (“Whether [the defendant] chooses to assist his counsel
    is a choice he must make, and he will face the consequences of that
choice.”). The Court’s finding that the defendant possesses the necessary
capacity to understand and assist does not guarantee that the defendant “will


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act in conformity with such understanding and ability.” Id. at *4 (citing Bell v.
Evatt, 72 F.3d 421, 432 (4th Cir. 1995)).

      Compare our case, in which the defendant appears to trust and
cooperate with his counsel. The alleged inability to assist counsel consists in
his obsession with SA Helmstetter, which, counsel says, eats up the time they
have together and impairs any focused review of the evidence. I regard this
situation as being one step removed from, and an order of magnitude less
serious than, the situation found not sufficient to support a finding of
incompetency in, e.g., Gowadia.

       In sum, I find the opinion and testimony of Dr. Simring to be the more
credible. I accept that the defendant may suffer from a personality disorder,
and may even have fixed and inflexible beliefs about the bona fides of the
investigating agent. I do not propose, however, to bandy diagnoses with the
experts any further. I find factually, based on all the evidence, that Mr.
Dunich-Kolb’s condition, however described, does not rise to the level of a
mental disease or defect that prevents him from understanding the nature and
consequences of the proceedings against him or assisting properly in his
defense.

                                     ORDER

      Accordingly, IT IS this 27th day of March, 2017

      ORDERED that the motion (ECF no. 29) under 18 U.S.C.        §   4241 for an
order declaring the defendant mentally incompetent to stand trial in this
criminal case is DENIED.




                                                          /
                                                  KEVIN MCNULTY                /
                                              United States District Judge    (



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